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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

MARTHELLA JOHNSON TRUST,
Guardian of Minor John Doe 1                                                  PLAINTIFF

v.                             Case No. 4:20-cv-00873-LPR

PATTY KUPFER, Campaign
Director/State Policy Director;
ARKANSAS DEPARTMENT OF LABOR                                                DEFENDANTS

                                       JUDGMENT

       Consistent with the Order that was entered on this day, it is considered, ordered, and

adjudged that this case is hereby DISMISSED without prejudice.

       IT IS SO ADJUDGED this 21st day of October, 2020.



                                                  _______________________________
                                                  LEE P. RUDOFSKY
                                                  UNITED STATES DISTRICT JUDGE
